                      CASE 0:20-cr-00190-ADM-TNL Doc. 106 Filed 02/17/22 Page 1 of 7
AO 245B (Rev. 11/16) Sheet 1 - Judgment in a Criminal Case




                                          UNITED STATES DISTRICT COURT
                                                             District of Minnesota

              UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE

                                     v.
                                                                                   Case Number: 0:20-cr-00190-ADM-TNL(1)
                 DERRICK LEE SPILLMAN                                              USM Number: 22480-041
                                                                                   Jean Brandl
                                                                                   Defendant’s Attorney

THE DEFENDANT:
 ☒ pleaded guilty to count(s) One through Three, Five through Eight and Nine.
 ☐ pleaded nolo contendere to count(s) which was accepted by the court


The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                      Offense Ended     Count
 18:2 and 1951 AID AND ABET INTERFERENCE WITH COMMERCE BY ROBBERY                                         07/28/2020        1s
 18:2 and 1951 AID AND ABET INTERFERENCE WITH COMMERCE BY ROBBERY                                         07/28/2020        2s
 18:2 and 1951 AID AND ABET INTERFERENCE WITH COMMERCE BY ROBBERY                                         07/28/2020        3s
 18:1951 INTERFERENCE WITH COMMERCE BY ROBBERY                                                            07/30/2020        5s
 18:1951 INTERFERENCE WITH COMMERCE BY ROBBERY                                                            07/30/2020        6s
 18:1951 INTERFERENCE WITH COMMERCE BY ROBBERY                                                            07/30/2020        7s
 18:1951 INTERFERENCE WITH COMMERCE BY ROBBERY                                                            07/30/2020        8s
 18:924(c)(1)(A)(ii) USING, CARRYING AND BRANDISHING A FIREARM DURING AND IN                              07/30/2020        9s
 RELATION TO A CRIME OF VIOLENCE



The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 ☐ The defendant has been found not guilty on count(s)
 ☒ Count Four ☒ is dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                     February 17, 2022
                                                                     Date of Imposition of Judgment



                                                                     s/Ann D. Montgomery
                                                                     Signature of Judge

                                                                     ANN D. MONTGOMERY
                                                                     UNITED STATES DISTRICT JUDGE
                                                                     Name and Title of Judge

                                                                     February 17, 2022
                                                                     Date



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AO 245B (Rev. 11/16) Sheet 2 - Imprisonment
DEFENDANT:                    DERRICK LEE SPILLMAN
CASE NUMBER:                  0:20-cr-00190-ADM-TNL(1)

                                                           IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
262 months. This term consists of 178 months on counts One through Three and Five through Eight, to be served
concurrently; and 84 months on count Nine, to be served consecutively to all other counts. Credit shall be received for time
served.


        The court makes the following recommendations to the Bureau of Prisons: That the defendant be incarcerated at an
 ☒ institution in Minnesota. That the defendant be allowed to participate in the Residential Drug Abuse Program.



 ☒ The defendant is remanded to the custody of the United States Marshal.
 ☐ The defendant shall surrender to the United States Marshal for this district:

           ☐ at                                          on

           ☐ as notified by the United States Marshal.

 ☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           ☐ before                         on
           ☐ as notified by the United States Marshal.
           ☐ as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
I have executed this judgment as follows:


          Defendant delivered on                                        to


at                                            , with a certified copy of this judgment.




                                                                                          UNITED STATES MARSHAL



                                                                                          By _______________________
                                                                                          DEPUTY UNITED STATES MARSHAL




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AO 245B (Rev. 11/16) Sheet 3 – Supervised Release
DEFENDANT:                    DERRICK LEE SPILLMAN
CASE NUMBER:                  0:20-cr-00190-ADM-TNL(1)

                                                     SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : 3 years on all counts to run
concurrently.



                                                    MANDATORY CONDITIONS

 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
           ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                 substance abuse. (check if applicable)
 4.   ☒    You  must   make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
           of restitution. (check if applicable)
 5.   ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 6.   ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
           you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7.   ☐ You must participate in an approved program for domestic violence. (check if applicable)

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any
 additional conditions on the attached page.




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AO 245B (Rev. 11/16) Sheet 3A – Supervised Release
DEFENDANT:                    DERRICK LEE SPILLMAN
CASE NUMBER:                  0:20-cr-00190-ADM-TNL(1)

                                  STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
      notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
      officer within 72 hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
      officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
      from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
      excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
      10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
      the probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
      without first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at www.uscourts.gov.

Defendant's Signature __________________________________________________                       Date ______________________

Probation Officer's Signature ____________________________________________                     Date ______________________




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AO 245B (Rev. 11/16) Sheet 3D – Supervised Release
DEFENDANT:                    DERRICK LEE SPILLMAN
CASE NUMBER:                  0:20-cr-00190-ADM-TNL(1)

                                     SPECIAL CONDITIONS OF SUPERVISION

1.        The defendant shall abstain from the use of alcohol and other intoxicants and not frequent
          establishments whose primary business is the sale of alcoholic beverages.
2.        The defendant shall complete an immediate assessment or participate in a program for substance abuse
          as approved by the probation officer upon release or relapse during their term of supervised release. That
          program may include testing and inpatient or outpatient treatment, counseling, or a support group.
          Further, the defendant shall contribute to the costs of such treatment as determined by the Probation
          Office Co-Payment Program, not to exceed the total cost of treatment.
3.        The defendant shall not knowingly communicate or otherwise interact [i.e., in person; through a third
          party; by telephone or mail, electronic or otherwise; or through social media websites and applications]
          with any known member or prospect of the Crips gang or any criminal street gang, as defined by
          18.U.S.C. § 521, without first obtaining the permission of the probation officer.
4.        The defendant shall participate in a cognitive behavioral treatment program as approved and directed by
          the probation officer. Further, the defendant shall contribute to the costs of such programming as
          determined by the U.S. Probation and Pretrial Services Office Co-Payment Program not to exceed the
          total cost of treatment.
5.        If not employed at a regular lawful occupation, as deemed appropriate by the probation officer, the
          defendant may be required to perform up to 20 hours of community service per week until employed.
          The defendant must also participate in training, counseling, daily job search, or other employment-
          related activities, as directed by the probation officer.




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AO 245B (Rev. 11/16) Sheet 5 – Criminal Monetary Penalties
DEFENDANT:                       DERRICK LEE SPILLMAN
CASE NUMBER:                     0:20-cr-00190-ADM-TNL(1)

                                             CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments.
                        Assessment             Restitution               Fine       AVAA Assessment*                                    JVTA Assessment**
       TOTALS               $800.00              $7,822.00                $.00                      $.00                                             $.00

    ☐       The determination of restitution is deferred until  An Amended Judgment in a Criminal Case (AO245C)
            will be entered after such determination.
    ☒       The defendant must make restitution (including community restitution) to the following payees in the amount
            listed below.

           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
           § 3664(i), all nonfederal victims must be paid before the United States is paid.

           Sharrett’s Liquor Store                                                                                                  $372
           K.H.                                                                                                                     $40
           Gopher Liquor Store                                                                                                      $6,600
           Holiday Gas Station (Fridley, MN)                                                                                        $360
           Speedway Store (Brooklyn Center, MN)                                                                                     $200
           Subway (Minneapolis, MN)                                                                                                 $250


 ☐ Restitution amount ordered pursuant to plea agreement $
 ☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
        the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
        subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 ☒      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        ☒ the interest requirement is waived for the          ☐ fine                            ☒ restitution
        ☐ the interest requirement for the                              ☐ fine                                    ☐ restitution is modified as follows:
* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
**Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.




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AO 245B (Rev. 11/16) Sheet 6 – Schedule of Payments
DEFENDANT:                    DERRICK LEE SPILLMAN
CASE NUMBER:                  0:20-cr-00190-ADM-TNL(1)

                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ☒ Lump sum payments of $ $7,822.00 due immediately, balance due
       ☐ not later than                                         , or

       ☒ in accordance                     ☒      C,         ☐         D,       ☐       E, or       ☒       F below; or

 B     ☐ Payment to begin immediately (may be combined with                     ☐       C,          ☐       D, or              ☐       F below); or

 C     ☒ Payment in equal monthly installments of $ 25 over a period of
              3 years, to commence 30 days after the date of this judgment; or

 D     ☐ Payment in equal 20 (e.g., weekly, monthly, quarterly) installments of $                                   over a period of
                                (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from
              imprisonment to a term of supervision; or

 E     ☐ Payment during the term of supervised release will commence within                        (e.g., 30 or 60 days) after release
              from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
              time; or

 F     ☒ Special instructions regarding the payment of criminal monetary penalties: Over the period of incarceration, the
              defendant shall make payments of either quarterly installments of a minimum of $25 if working non-UNICOR or
              a minimum of 50 percent of monthly earnings if working UNICOR. It is recommended the defendant participate
              in the Inmate Financial Responsibility Program while incarcerated.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 ☐ Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                               Joint and Several                    Corresponding Payee,
      (including defendant number)                       Total Amount                    Amount                               if appropriate




 ☐ The defendant shall pay the cost of prosecution.
 ☐ The defendant shall pay the following court cost(s):

 ☐ The defendant shall forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.

                                                                            7
